Case 2:08-cv-01021-PSG-RC Document 9-26 Filed 02/19/08 Page1of3 Page ID #:144

EXHIBIT Y
Case 2:08-cv-01021-PSG-RC Document 9-26 Filed 02/19/08 Page 2of3 Page ID #:145

GC-330
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address): TELEPHONE AND FAX NOS.- FOR COURT USE ONLY
Geraldine A. Wyle (#89735) 2138924492
!~ Luce, Forward, Hamilton & Scripps LLP
601 S. Figueroa St., 39 th Floor
Los Angeles, CA 90017
ATTORNEY FOR (Name): James Spears FIL,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles LOS ANGELES SUPERIOR COURT
street aporess: 1] 1 N Hill Street
maine avoress: 11] N Hill Street FEB 01 7008
city ano zip cove: Los Angeles 90012
BRANCH Name: Central JOHN A. CLARKE, CLERK
CONSERVATORSHIP OF THE =[¥7] PERSON [¥] ESTATE OF (Name): coin WA Ue ans
Britney Jean Spears BY S.L. WILLIAMS, DEPUTY
["] conservatee [Y] PROPOSED CONSERVATEE
CASE NUMBER:
ORDER APPOINTING COURT INVESTIGATOR BP108870
[¥] Conservatorship [[7] Limited Conservatorship

TO (name): Frank Cowen, Court Investigator
You are hereby appointed Court Investigator in the matter entitied above.
1. LZ] Prior to appointment of a conservator. YOU ARE DIRECTED TO
a. personally interview and inform the proposed conservatee of the contents of the citation, the nature, purpose, and effect of
the proceedings, and of the right to oppose the proceeding, attend the hearing, have the matter tried by jury, be repre-
sented by counsel, and have legal counsel appointed by the court if unable to retain an attorney.

b. determine

(1) whether it appears that the proposed conservatee is unable or unwilling to attend the hearing.

(2) whether the proposed conservatee wishes to contest the establishment of the conservatorship; and whether the pro-
posed conservatee objects to the Proposed conservator, or whether he or she prefers another person to act as
conservator.

(3) whether the proposed conservatee wishes to be represented by counsel, and if so, whether counsel has been re-
tained, and if not, the name of an attorney the proposed conservatee wishes to retain.

(4) whether the proposed conservatee desires the court to appoint legal counsel if the proposed conservatee has not
retained an attorney.

(5) whether the appointment of legal counsel would be helpful to the resolution of the matter or is necessary to protect
the interests of the proposed conservatee if the proposed conservatee does not plan to retain legal counsel and has
not requested the court to appoint legal counsel.

(6) whether the proposed conservatee is capable of completing an affidavit of voter registration.

c. review {i) the allegations of the petition as to why the appointment of a conservator is required and (ii) the statements

in the Confidential Supplemental Information (form GC-312) and refer to the supplemental information in making your

determinations.

d. at least five days before the hearing, report your findings in writing to the court, including in your report the proposed con-
servatee's express communications concerning the following:

(1) representation by legal counsel:

(2) whether the proposed conservatee is not willing to attend the hearing, does not wish to contest the establishment of
the conservatorship, and does not object to the proposed conservator or prefer that another person act as conservator.

e. at least five days before the date set for hearing, mail a copy of your report to all of the following:

(1) the attorney, if any, for the petitioner,

(2) the attorney, if any, for the proposed conservatee;

(3) (_] other persons ordered by the court (specify names and addresses in Attachment 1e).

f. £_] other (specify in Attachment 19).
2. [_] Before the court grants an order relating to medical consent under Probate Code section 1880.
[__] Before the court grants an order under Probate Code section 2253 authorizing the temporary conservator to change
the residence of the temporary conservatee
YOU ARE DIRECTED TO
a. personally interview and inform the conservatee of the contents of the petition, the nature, purpose, and effect of the pro-
ceedings, and of the right to oppose the petition, attend the hearing, and be represented by legal counsel.

(Continued on reverse)
Form Approved by the ORDER APPOINTING COURT INVESTIGATOR Probate Coe. 38 Moe.

Judicial Council of California .
GC-330 fRev. January 1, 1998) (Probate Conservatorship)

Case 2:08-cv-01021-PSG-RC Document 9-26 Filed 02/19/08 Page 3of3 Page ID #:146

CONSERVATORSHIP OF (Name): CASE NUMBER:
Britney Jean Spears BP 108870
~ [_] conservatee [Y] PROPOSED CONSERVATEE
2. b. determine

(1) whether it appears that the conservatee is unable or unwilling to attend the hearing.

(2) whether the conservatee wishes to contest the petition.

(3) whether the conservatee wishes to be represented by counsel, and if so, whether counsel has been retained, and
if not, the name of an attorney the conservatee wishes to retain.

(4) whether the conservatee desires the court to appoint legal counsel if the conservatee has not retained an attorney.

(5) whether the appointment of legal counsel would be helpful to the resolution of the matter or is necessary to protect
the interests of the conservatee if the conservatee does not plan to retain legal counsel and has not requested the
court to appoint legal counsel.

(6) (for change of residence only) determine whether the proposed change of place of residence is required to prevent
irreparable harm to the conservatee and whether no means Jess restrictive of the conservatee's liberty will suffice to
prevent the harm.

c. atleast five days before the hearing on medical consent or at least two days before the hearing on change of residence,
report your findings in writing to the court, including in your report the conservatee's express communications concerning
representation by legal counsel and whether the conservatee is not willing to attend the hearing and does not wish to
contest the petition.

d. at least five days before the date set for hearing on medical consent or at least two days before the hearing on change of
residence, mail a copy of your report to all of the following:

(1) the attorney, if any, for the petitioner:

(2) the attorney, if any, for the conservatee;

(3) C_] other persons ordered by the court (specify names and addresses in Attachment 2d).

e. [J other (specify in Attachment 2¢).

3. (-] Duties after appointment of conservator. YOU ARE DIRECTED TO

4. Number of pages attached: _0

. visit and personally inform the conservatee that he or she is under a conservatorship and of the name of the conservator.

. determine whether the conservatee wishes to petition the court for termination of the conservatorship.

determine whether the conservatee is still in need of the conservatorship.

. determine whether the conservatee is capable of completing an affidavit of voter registration.

. determine whether the conservator is acting in the best interests of the conservatee.

inform the court immediately if you are unable at any time to locate the conservatee.

. aS may be necessary, visit personally with the conservator and other persons to determine whether the conservator is

acting in the best interest of the conservatee.

[-_] (if the conservator is authorized to act under Probate Code section 2356.5—-dementia treatment or placement)
advise the conservatee specifically that he or she has the right to object to the conservator's powers granted under
section 2356.5, to determine whether the powers are warranted, to determine whether the conservatee objects to
the conservator's powers under this section, and to determine whether some change in the powers granted under
this section is warranted.

i CI) (for conservatorships existing on December 31, 1980, in which the conservatee has not been adjudged incompetent)

determine whether an order should be made under Probate Code section 1873 broadening the capacity of the

conservatee.

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j. [~] determine whether the present condition of the conservatee is such that the terms of the court order under Probate

Code sections 1873 or 1901 should be modified or that the order should be revoked.
k. [__] determine whether the conservatee still lacks the capacity to give informed consent for any form of medical treatment.
1 EE] (for limited conservatorship only) make a recommendation regarding the continuation or termination of the limited

conservatorship.
m. mail at the same time your report is certified to the court a copy to the conservator, to the attorneys of record for the
conservator and conservatee, and to any other persons as ordered by the court (specify names and adaresses in Attach-

ment 3m).

n. (__] other (specify in Attachment 3n).

The visit and investigation under item 3 shall be so conducted that it is completed and your findings are certified in writing to
the court not less than 15 days before the expiration of one year from the date the conservator was appointed. Visits and
investigations shall be made biennially thereafter, with written findings certified to the court not less than 15 days before the

date of biennial court review.
Loos PDP,
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cF PEEP, Y j ele al fy

Date. «FEB 9 1 2008
JUDGE OF THE SUPERIOR COURT eo. a
[_] sicnature FOLLOWS LAST ATTACHMENT PUES ET
SON Re akany ORDER APPOINTING COURT INVESTIGATOR Page bes

(Probate Conservatorship)

